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            IN THE UNITED STATES DISTRICT COURT FOR THE

                         DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                 8:10CR158
                              )
           v.                 )
                              )
CARLOS LOMELI and MANUEL      )                       ORDER
HERNANDEZ,                    )
                              )
               Defendants.    )
______________________________)


           This matter is before the Court on the findings and

recommendation (Filing No. 188) and the supplemental findings and

recommendation (Filing No. 203) of the magistrate judge,

recommending that the motion to suppress evidence filed by

defendant Lomeli (Filing No. 142) be granted in part and denied

in part, and that the motion to suppress evidence filed by

defendant Hernandez (Filing No. 158) be granted.

           Defendant Lomeli objects to the magistrate judge’s

findings and recommendation as to the legality of the search of

said defendant’s home (Filing No. 189).          This objection will be

denied because the search warrant for the residence was not

obtained as a result of the Nebraska wiretap.

           Plaintiff filed objections to the magistrate judge’s

initial findings and recommendation (Filing No. 195).                These

objections will be overruled as moot inasmuch as the magistrate

judge reopened the record.      No objections were filed to the
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supplemental findings and recommendation, and they will be

approved and adopted.     Accordingly,

           IT IS ORDERED:

           1) The plaintiff’s objections to the findings and

recommendation of the magistrate judge are overruled as moot.

           2) The findings and supplemental findings and

recommendation of the magistrate judge are approved and adopted.

           3) Defendants Lomeli’s motion to suppress is granted in

part; the motion to evidence obtained as the result of the

October 22, 2009, Nebraska Wiretap is suppressed.

           4) The motion to suppress evidence obtained from the

search of defendant Lomeli’s residence is denied.

           5) Hernandez’ motion to suppress is granted; the motion

to suppress evidence obtained as the result of the October 22,

2009, Nebraska Wiretap is suppressed.

           6) Trial of this matter is scheduled for:

                Tuesday, March 15, 2011, at 9 a.m.

Courtroom No. 5, Roman L. Hruska United States Courthouse, 111

South 18th Plaza, Omaha, Nebraska.         To give the parties time to

pursue plea negotiations or prepare for trial, and because of the

schedule of the Court, the ends of justice will be served by

continuing this case and outweigh the interests of the public and

the defendant in a speedy trial.        The additional time between

February 8, 2011, and March 15, 2011, shall be deemed excludable
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time in any computation of time under the requirement of the

Speedy Trial Act.       18 U.S.C. § 3161(h)(8)(A) & (B).

           DATED this 8th day of February, 2011.

                                     BY THE COURT:

                                     /s/ Lyle E. Strom
                                     _____________________________
                                     LYLE E. STROM, Senior Judge
                                     United States District Court
